  ILND.14 (Rer. ()7,'10'17)
                                          Case: 1:18-cv-05344 Document #: 2 Filed: 08/06/18 Page 1 of 1 PageID #:14
                                                                                               CIVIL COVER SHEET                                                                                                                va k(2
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 I. (a) PLAINTIFFS                                         '4.tt               ,r               y'r'vtl

         (b) County ofResidence of First Listcd PlaintifT
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 II. BASIS OF JURISDICTION (cha<k q1c hox.,ntv.)                                                                               CITIZENSHIP OF PRINCIPAL PARTIES (For Dit,ersirt Cuscs ontt.)
                                                                                                                                  (('hc<k 92ae ho.r, rnl.t, lir plointi/l uttd w ho.r lir dclcndunr.)
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 EZ U.S. Covcrnmcnr                          l-14 Divcrsirv                                                                      Citizcn of Anothcr Statc                      ! 2           tr :         lncorporatcdrarr/PrincipalPlacc          il    S         fls
               Defendant                                   (lntlit'utt'titi:enship o/ purtic.t in lten lll.)                                                                                           of Business in Anothcr State

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 IV. NATURE OF SUIT (Chet,A s1y hrx. ontt,.1
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                                                                                                                                                                                                                                               Direct File
 VI. CAUSE OF ACTION (Entcr U.S. Civil Statutc undcr u,hich vou arc liling and                                                VIL Previous Bankruptcy Matters (For nature of suit.122 and 42-3, enter rhc case number and
 write r bricfstaternent ofcause.)                                                                                            judgc lor any associatcd bankruptcy rnattcr prcviously adjudicatcd by ajudgc ofthis Court. Usc a separatc
                                                      dOr,u5 tt-t''t                                                          attachnrent if ncccssary,.       )



             REQUESTED IN                                                  Chcck ifthis is a class action under Rulc                       DEMAND $                                              Check Yes only if demanded in complaint.
             COMPLAINT:                                                    23. F.R.CV-P.                                                                                                         JURY DEMAND: I         Ycs f] No
 IX. RELATED CASE(S) (See i"stuctions)                                                                                                                                                   .iicn Llt )
           IF ANY                                                            Jud-qe                                                                                          case Nunrbcr f-'!j\go*"1
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